Case 0:17-cv-60426-UU Document 228-9 Entered on FLSD Docket 10/01/2018 Page 1 of 10




                              EXHIBIT 7
      Case 0:17-cv-60426-UU
10/1/2018                      Document
                          Cloak-and-dagger   228-9
                                           saga         Entered
                                                over Trump           on out
                                                           dossier plays FLSD     Docket
                                                                            in Miami         10/01/2018
                                                                                     | McClatchy               Page 2 of 10
                                                                                                 Washington Bureau




                                                                              LATEST NEWS


       Cloak-and-dagger saga over cybercrime, Trump dossier
                  plays out in Miami courtroom
                                                                           BY KEVIN G. HALL
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September 21, 2018 08:55 AM
Updated September 25, 2018 10:25 AM

WASHINGTON — A federal courtroom in Miami is now the intersection for a celebrity attorney, two major
cybercrimes and a foreign tech firm with an ephemeral South Florida address and entanglement in the
Trump-Russia probe.

District Judge Ursula Ungaro in Miami is hearing the defamation lawsuit brought early last year by Cyprus-
based entrepreneur Aleksej Gubarev against online news outlet Buzzfeed. It published the infamous collection
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https://www.mcclatchydc.com/latest-news/article218740565.html                                                                                                           1/9
      Case 0:17-cv-60426-UU
10/1/2018                      Document
                          Cloak-and-dagger   228-9
                                           saga         Entered
                                                over Trump           on out
                                                           dossier plays FLSD     Docket
                                                                            in Miami         10/01/2018
                                                                                     | McClatchy               Page 3 of 10
                                                                                                 Washington Bureau



dismiss the case or set a trial date.

The dossier was was the work of former British spy Christopher Steele, a Russia expert, who was also sued
individually in London by Gubarev. Since the suits were filed in early 2017, however, they’ve grown into a
much more complicated affair.


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Christopher Steele is the author of the Trump-Russia dossier.


That’s because Senate Judiciary Committee Chairman Charles Grassley, R-Iowa, unsuccessfully tried to force
Judge Ungaro to hand over copies of Steele’s deposition in the Miami lawsuit, which could be useful in
undercutting Steele’s credibility in the Trump-Russia probe. Grassley was rebuffed in early September.
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https://www.mcclatchydc.com/latest-news/article218740565.html                                                                   2/9
      Case 0:17-cv-60426-UU
10/1/2018                      Document
                          Cloak-and-dagger   228-9
                                           saga         Entered
                                                over Trump           on out
                                                           dossier plays FLSD     Docket
                                                                            in Miami         10/01/2018
                                                                                     | McClatchy               Page 4 of 10
                                                                                                 Washington Bureau



“If you want the real story of the DNC hack ask Gurvits to let you read Gubarev’s deposition,” Roy Black, the
colorful lawyer hired by Buzzfeed, tweeted on June 7, upping the stakes in a reference to Gubarev’s attorney,
Val Gurvits.

Black, who conducted the deposition, is a prominent Miami defense attorney, known for defending police
officers involved in shooting deaths and taking celebrity clients such as radio talker Rush Limbaugh and
singer Justin Bieber. He declined to elaborate further, citing a court order to keep silent about the substance
of the case, much of it sealed.

Gubarev is the founder and largest shareholder of Luxembourg-based XBT Holdings, whose family of tech
companies provides servers, web hosting and an array of services. XBT owns South Florida-based Webzilla,
which operates servers in Dallas, and both companies are identified in the controversial Steele dossier.




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https://www.mcclatchydc.com/latest-news/article218740565.html                                                                      3/9
      Case 0:17-cv-60426-UU
10/1/2018                      Document
                          Cloak-and-dagger   228-9
                                           saga         Entered
                                                over Trump           on out
                                                           dossier plays FLSD     Docket
                                                                            in Miami         10/01/2018
                                                                                     | McClatchy               Page 5 of 10
                                                                                                 Washington Bureau




Miami attorney Roy Black
             - The Miami Herald file photo



The dossier is actually a collection of private “opposition research” memos, paid for first by people close to
Trump’s primary opponents and later by a Hillary Clinton supporter. Steele’s dossier claimed on the final page
of the 35-page document that XBT was used as a platform for the hack of the Democratic National
Committee and subsequent release of private emails.

That allegation, unsupported with evidence, put a little-known company under an international spotlight.
Gubarev sued Buzzfeed, claiming he never got a chance to dispute the unverified claims. The news site
published the dossier on Jan. 10, 2017, weeks before President Trump’s inauguration.

A new investigation by McClatchy-Miami Herald shows that going to trial might force XBT’s owner to testify
about uncomfortable topics. The investigation found that companies owned and operated by XBT were either
used by or affiliated with companies connected to the spread of two notorious computer viruses —the Gozi
virus and the Methbot virus.

The findings do not prove or disprove claims made about XBT in the dossier, but show how the company
could have been used by cyber criminals, wittingly or unwittingly.

McClatchy found evidence that a web hosting company that is part of the broad XBT family was one of the
many platforms used to spread the Methbot virus, a sophisticated operation that tricked online advertisers
into paying for fake views of video ads.

The investigation found that Nikita V. Kuzmin, the creator of the Gozi virus, which stole online banking data,
incorporated at least three companies in South Florida, with the administrative assistance of Webzilla officer
Constantin Luchian. He’s a Moldova-born naturalized U.S. citizen who runs a company called Incorporate
Now, which had been based in Fort Lauderdale and now operates out of Lake Worth.
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https://www.mcclatchydc.com/latest-news/article218740565.html                                                                   4/9
      Case 0:17-cv-60426-UU
10/1/2018                      Document
                          Cloak-and-dagger   228-9
                                           saga         Entered
                                                over Trump           on out
                                                           dossier plays FLSD     Docket
                                                                            in Miami         10/01/2018
                                                                                     | McClatchy               Page 6 of 10
                                                                                                 Washington Bureau



Citing court documents and regulatory filings, McClatchy reported last November that XBT and its affiliates
as well as Luchian had drawn the ire of anti-piracy groups. A chunk of the company’s business involves
hosting file-sharing sites, where pirated music, videos or movies can be downloaded. These downloads can
also be baited with malware that can adversely affect a computer user’s operating system in sundry ways.

Music industry associations and attorneys who investigate copyright infringement described XBT/Webzilla as
a facilitator of piracy, something XBT’s attorney vigorously denied.

Why XBT was named in a dossier was never clear and Steele has been silent. Several people familiar with
Steele’s thinking have said he does not know why his Russian sources fingered XBT. The dossier alleged that
“XBT/Webzilla and its affiliates had been using botnets and porn traffic to transmit viruses, plant bugs, steal
data and conduct ‘altering operations.’ ” These are among the allegations that XBT denies and form the basis
of the defamation suit.

The dossier also alleged that Gubarev had been coerced by the Russian government because it had
compromising information on him, something he flatly denied to McClatchy when giving his first interview on
the topic to any news organization, the day after Buzzfeed published the dossier.

Using tools to study digital fingerprints on the Internet, McClatchy stumbled on an email in code language
associated with what is known as the Methbot virus. That address appeared in Internet traffic moving via a
Fort Lauderdale-based web hosting company called Wz Communications.

Florida documents show it was incorporated in 2009 by XBT employee Kostyantyn Bezruchenko. His
LinkedIn page lists him as chief technology officer for Servers.com, owned by XBT, and shows that in 2009
he was in the same role for Webzilla.

In a statement to McClatchy, Gubarev acknowledged that a blogger accused the company in December 2016
of being used in the Methbot fraud.

“As soon as Webzilla learned of the accusation, we immediately closed the client’s account and retained the
relevant hard drives — which we have kept in case they may be useful to law enforcement,” Gubarev said.
“To date, no law enforcement agency has contacted us about that alleged fraud or the hard drives.”




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https://www.mcclatchydc.com/latest-news/article218740565.html                                                                   5/9
      Case 0:17-cv-60426-UU
10/1/2018                      Document
                          Cloak-and-dagger   228-9
                                           saga         Entered
                                                over Trump           on out
                                                           dossier plays FLSD     Docket
                                                                            in Miami         10/01/2018
                                                                                     | McClatchy               Page 7 of 10
                                                                                                 Washington Bureau




Aleksej Gubarev is suing the news website Buzzfeed.


The Methbot virus was largely unknown until the security firm WhiteOps, which took the unusual step in
December 2016 of putting out a free report to expose what it called “an army of automated web browsers
run from fraudulently acquired IP addresses.” These automated commands, called bots, made it look like
300 million video ads were being viewed daily by people sitting at computers, attracting millions of dollars
from Internet advertisers.

WhiteOps officials did not answer requests for comment, but in the 2016 report said that Methbot was
unique because rather than launching bots through infected computers at homes and offices it used infected
computer data centers — anywhere between 800 and 1,200 computer servers at any given time. The physical
servers, it said, were in Dallas and the Dutch city of Amsterdam.

WhiteOps did not identify companies so it is unclear whether that is a reference to XBT, which has seven
subsidiaries spread across three continents. In the Netherlands, Webzilla operates a data center with 6,000
servers. On its own website, Webzilla says it operates a data center in Dallas and 3,000 servers in the United
States.

Both Dallas and Amsterdam have technology clusters, and there is no evidence XBT or its affiliated
companies had any direct role in or knowledge of Methbot. But the spread of Methbot underscores how XBT
or its affiliates could have been used in Russia’s efforts to interfere in the 2016 election campaign.

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      Case 0:17-cv-60426-UU
10/1/2018                      Document
                          Cloak-and-dagger   228-9
                                           saga         Entered
                                                over Trump           on out
                                                           dossier plays FLSD     Docket
                                                                            in Miami         10/01/2018
                                                                                     | McClatchy               Page 8 of 10
                                                                                                 Washington Bureau



“Webzilla is one of the largest internet providers in Europe. It is impossible for an internet provider with tens
of thousands of clients and hundreds of thousands of IP addresses to monitor all traffic going through its
network,” said Gubarev. “Much like a phone company cannot monitor all of its customers’ conversations or
how its customers use their telephones, no one on our team was aware [and could not possibly have been
aware] of any improper activity.”

Both the dossier and Gubarev can be right, offered Andrew Weisburd, a cyber security and intelligence expert
at the German Marshall Fund, a foreign policy think tank.

“Their explanation is entirely plausible, as is the Steele Dossier’s description of Mr. Gubarev as essentially a
victim of predatory officers of one or more Russian intelligence services,” said Weisburd. “I have some
difficulty squaring those two things with … Gubarev’s aggressive pursuit of Steele and BuzzFeed. Neither
BuzzFeed nor Steele have accused Gubarev of being a willing participant in wrongdoing.”

XBT also has an indirect overlap with the Gozi virus. The virus dates back to the mid-2000s and used so-
called zombie malware to hack into a computer’s browser and mimic its behavior in order to steal online
banking logins and other vital information.

Federal prosecutors in the Southern District of New York arrested its creator, Nikita V. Kuzmin, in 2013. He
was nabbed while visiting San Francisco, and prosecutors said at the time that his signature virus infected
more than 100,000 computers worldwide, about 25 percent of them in the United States, including some at
NASA, causing tens of millions of dollars in losses.

The Gozi virus was so successful that Kuzmin rented it out to other criminal organizations for a cut of the
proceeds. He was sentenced to time served in May 2016 and sent home to Russia, but part of what led to his
discovery was an email from Nikita@youdo.ru.

Kuzmin happened to be director of YouDo Inc., registered in Fort Lauderdale in 2010 by Incorporate Now,
run by Webzilla officer Constantin Luchian. He also handled the registration for Kuzmin Fresh IT Solutions
Inc. in 2010 and ServerClub Inc. in 2011.

It appears that Luchian continues to do business with Kuzmin because ServerClub remains an active Florida
company, with Kuzmin listed in its 2017 annual report as its chief director. On its website, ServerClub
describes itself as a dedicated hosting provider operating on leased servers. The address listed for Server club
in documents and one its website is the same one as Incorporate Now in Lake Worth, and as Wz
Communications, the web hosting company thought to have been used in the spread of the Methbot virus.

XBT said Incorporate Now is Luchian’s business and is not related. He did not respond to calls left at
Incorporate Now, whose mailing address leads to a shared office space that until recently housed a
restaurant. He is listed on the website of the shared-space operator Social House, which calls itself “a
boutique creative co-working and event space.” Its owners did not return calls and emails seeking
information about Incorporate Now.
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      Case 0:17-cv-60426-UU
10/1/2018                      Document
                          Cloak-and-dagger   228-9
                                           saga         Entered
                                                over Trump           on out
                                                           dossier plays FLSD     Docket
                                                                            in Miami         10/01/2018
                                                                                     | McClatchy               Page 9 of 10
                                                                                                 Washington Bureau


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     Case 0:17-cv-60426-UUCloak-and-dagger
10/1/2018                     Documentsaga 228-9     Entered
                                             over Trump          on FLSD
                                                        dossier plays          Docket
                                                                      out in Miami        10/01/2018
                                                                                   | McClatchy              Page 10 of 10
                                                                                               Washington Bureau




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https://www.mcclatchydc.com/latest-news/article218740565.html                                                                   9/9
